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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DONALD J. TRUMP,
Plaintiff,
V. Civil Action No. 1:19-cv-02173 (CIN)
COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF
REPRESENTATIVES, et al.,

Defendants.

 

 

QRDER

On July 8, 2019, New York’s governor signed the Tax Returns Released Under Specific
Terms Act (the “TRUST” Act) into law. Complaint, Dkt. 1 (Compl!.”) [] 48, 58; see also N.Y.
Tax Code § 697(f-1), (f-2) (2019) (codifying the TRUST Act). The Act amended the New York
Code to require the Commissioner of the New York State Department of Taxation and Finance
(“Commissioner”), “upon written request” from the chairperson of one of three congressional
committees, and if certain conditions are met, to “furnish such committee with any current or
prior year [tax] reports or returns specified in such request that were filed” in New York by “the
president of the United States, vice-president of the United States, member of the United States
Congress representing New York state,” or other public official enumerated in the statute. Tax
§ 697(£-1).

On July 23, 2019, Plaintiff Donald J. Trump sued the Commissioner, the Attorney
General of New York State (collectively, the “New York Defendants”), and the Committee on
Ways and Means of the U.S. House of Representatives (“Committee”), citing concerns that the

Committee’s Chairman, Representative Richard Neal, would seek to employ the TRUST Act to
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request and receive Mr. Trump’s New York state tax returns. See Compl. {] 6, 62—68 (alleging
media reports of pressure on Chairman Neal to request Mr. Trump’s state tax returns through the
TRUST Act).! The next day, Mr. Trump filed an Emergency Application for Relief under the
All Writs Act, 28 U.S.C. § 1651 (2012), asking the Court “to preserve the status quo,” Dkt. 6-1
at 5, by enjoining Chairman Neal “from requesting or receiving Plaintiff's state tax returns from
New York until Plaintiff obtains an opportunity for judicial review,” id. at 1. While Mr. Trump
acknowledged that “it might be premature for [him] to press his claims challenging the legality
of a request that has not yet been made,” id. at 5, he contended that equitable relief was
appropriate because “[i]f he seeks relief after the Chairman requests his state tax returns, the
returns might be disclosed before he can be heard in court,” id. at 1. In other words, Mr. Trump
raised the concern that his claims could become ripe and then moot almost instantaneously and
without notice to him or the Court, thereby depriving the Court of jurisdiction to decide his
claims. See id. at 5-6; see, e.g., Wagner v. Taylor, 836 F.2d 566, 571 (D.C. Cir. 1987) (“If the
court may eventually have jurisdiction of the substantive claim, the court’s incidental equitable
jurisdiction . . . gives the court authority to impose a temporary restraint in order to preserve the
status quo pending ripening of the claim for judicial review.”).

Following further briefing, see Dkt. 14; Dkt. 17; Dkt. 21, the Court held a hearing on the
Emergency Application. At the close of the hearing, the Court ordered the Parties to meet and
confer “to determine whether they can reach an agreement regarding how best to proceed in light
of... three goals”: (1) “ensuring that Mr. Trump’s claims do not become moot before they get

litigated”; (2) “treading as lightly as possible, if at all, on separation of powers and Speech or

 

Mr. Trump asserts two claims: (1) by invoking the TRUST Act, the Committee would violate
Article J of the U.S. Constitution and the Rules of the House of Representatives, Compi.
{| 70-72; and (2) the TRUST Act violates the First Amendment, id. {"] 74-76.
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Debate Clause concerns”; and (3) “adjudicating . . . this dispute only when it is actually ripe and
has a fuller record than presently exists.” Transcript of July 29, 2019 Hearing at 53-54. The
Court further ordered the Parties to file a Joint Status Report on July 30, 2019, “setting forth any
agreement they have reached——or in the event they are unable to reach agreement, their
respective positions—regarding how this case should proceed.” Min. Order (July 29, 2019).

On July 30, 2019, the Parties filed their Joint Status Report, Dkt. 22, and the next day the
Court convened a telephonic conference. Although the Report stated that the Parties had been
“unable to reach agreement,” id. at 1, during the conference Mr. Trump indicated that he had no
objection to the Court’s adopting the proposal made by the New York Defendants in the Joint
Status Report, as clarified and modified during the conference. See Transcript of July 31, 2019
Telephonic Conference at 13-17.?

Accordingly, the Court adopts the New York Defendants’ proposal, Dkt. 22 at 4—6, as
clarified and modified during the July 31 conference.’ Is it therefore ORDERED:

that the New York Defendants shali file their Motion to Dismiss for Lack of Personal
Jurisdiction and/or Improper Venue on or before August 9, 2019;

that Mr. Trump shall file his Opposition to the New York Defendants’ Motion to Dismiss
on or before August 19, 2019;

that the New York Defendants shali file their Reply in support of their Motion to Dismiss
on or before August 23, 2019; and

that a hearing on the Motion is set for August 29, 2019, at 2 PM in Courtroom 19;

 

* The Committee, for its part, stated that it took no position on the New York Defendants’
proposal (which, in any event, does not bind it). Jd at 11.

3Among other things, the New York Defendants expressly preserved the personal jurisdiction
and venue defenses that they have stated they intend to present in their Motion to Dismiss.
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It is further ORDERED that, during the pendency of the New York Defendants’ Motion
and for a period of one week from the Court’s decision on that Motion, the New York
Defendants shall not deliver to the Committee any information concerning Mr. Trump that may
be requested by Chairman Neal under the TRUST Act.

It is further ORDERED that, during the pendency of the New York Defendants’ Motion
and for a period of one week from the Court’s decision on that Motion, should Chairman Neal
make a request to the Commissioner under the TRUST Act for information concerning Mr.
Trump, the New York Defendants shall promptly notify the Court and Mr. Trump of that request.

For the avoidance of any doubt, nothing in this Order limits the New York Defendants or
Mr. Trump from making any arguments or filings concerning the New York Defendants’ Motion
to Dismiss, and nothing in this Order limits Mr. Trump’s ability to seek further or additional
relief following the Court’s decision on the New York Defendants’ Motion.

It is so ORDERED.

DATE: August 1, 2019 Led). Ml

CARL J. IYPHOLS
United States wee Judge
